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Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 1 of 21

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r':<)c.JN'.H QF BER.NALIL'IJC> z F__
3b:c<:1m) JU!¢)'JCIAL DISTRICT counts :SUN 61 2009 §§
e'l»:i:$;RY LATHAM, ' _ gw-N\ §§

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”\.r. NC'.). CV 2009(]4373

BOARD OF EDUCATION DF THE
ALBUQUERQUE EUBLIC SCHOOL$,

nefendant.

KMWNDED NOTICE OF APPEKL
FRDM'TEE"HUMAN RIGHTB COMMISBION

MMM,IQB_BM,MHQLM

l. ln thin complaint, Plain;iff Terry Latham illuminata$
ana cruel and discriminatory treatment ana han received from her
¢mploy&r, Albuquerque PUbliC SCHODLH ("AP$”}. MS. La?hmm nnffwrn
Lrom whronic aathma. To warn her of oncoming anthma attacks, Mn.
hatham is accompanied by a_service dmg named Bandit, and from
January 2003 to May 2008, Bandit accompanied Mr. Latnam on her
APS Snbstltute teaching ansiqnments, Mn. Lntham han worked for
AF$ as a suh$titute teach@r for abwuh Fifteen year$, but APE now
prohibits her from having Bandit in Hne workplace. By hnrwing
Bnndit, AP$ pr$VEnts MS. Latham from working as much for APH and
prev@nts mar from h&winq the benefihn that Bandit providnn. Mn.
hatham now seeks the relief that th§flaw afforda.

2. M$. hatham is a residen§;éf Barnalillo County; N&w
M@Kicn. M

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_». Ds.>,fendant Bc).ard of Educ:at;ic)n off AE’S iss the qc)v<a~rninq
body of APS, a public school nyst@m in New Mexico.
4. Defendant is a recipient of federal financial anxietannn

within the meaning of the Rehabilitdti®n ACt-

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EXHIB|T

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minm '¢
APHIL PE`NA

Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 2 of 21

5. The incidenna that are the subject of this action took
place in Bernalillo daunty, New Meximo.

6. This bourt has personal juriadiction over the partles,

T. Thih Court i$ the pfaper venue for this action.

B. MS. L$thnm suffers from chronic anthma.

9. M$. Latham'$ service qu, Handit, warns her nf oncoming
asthma attack$fso eha can have time to take medication and
precautionary Mctions.

10. MS. Latham is a physically handicapped person as
iE=.-r:in@d by -che§.wew mexico Human nigmi Ac-.t. ("HRA"), mm w")sa, §
HBMlWZCM) (20@?).

lll. Ma. Latham is disabled as d@fined by ADA Am@ndmanv$ Anr
Of 2008, Pub.:L. NO..llO~BRB.

12. Ms. Latham is a handicapped individual within the
meaning of thm=Rehabilitation Act, 29 U.S.C. § 706(3)-

13. This action ariees under the an Mexicn Hmman Riqht$
im;, NMSA 1973', § 2841-»?<1?‘) (200¢1), the ADA Am@~.ndm@m;i int of
2008, Pub. L. Nc:-. 110.-325, the Rehm-.>i:l.itition Act, 29 u...fs.€. §§
701 §§ §§g:, 42 U.S.C. § 1983, and the lawa, statuten,
negulations, pblicie$, practice$, and mustam$ of the State of New
M@xico and th$ United States and chair aqencie$ and political
Huhdivi$iona.

14. At ill tim$s mentioned herein, Defandant acted under
molor of Staté law.

15. Ms. Latham has worked for APS an 3 nubstitnt@ maacher

fur :I\F>pi“mximmiiely fifteen yemi':s.

Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 3 of 21

16. Bandit is xeqi$tnred nn a Bnrvinn dog with nhn S@rvicn
Animal Reqistry of Amnrica and the Gnlnstar 5@rvice qu
Urqanizatinn.

17. From=January 2008 to May 2003, Bandit accompanied Mr.
hathnm on her APS subatitnte teaching anniqnmentn.

lB. Bandit al&rts Ms. Lnthnm when her hranthing chanqnn,
first by Sittihg ch her feet, then by whininq, nhd thin by
harkinq loudly.

19. On April 8, 2000 APS insued a plan to accommodate Ms.
hatham by allwwing Bandit to accompany her to work.

20. Shom£ly afner innuing thn plan referred to in I lG,VAPE
rescinded the plan.

21. On March Er 2008, April B, 2008, and De¢ember B, 2008,
APS directed M$. Latnum not to bring Handit tn work.

22. On december B, 2008 APS inspend@d Ms. barham inv ann
week for bringing Bahdit to work.

23. By §rohibiting Bnndit from accompanying Ms. hathnm to
work, APS barred M$. Latham frnm working an much for APS.

24. By grohihitinq Bandit from accompanying Ms. hathnm to
wnrk, APS disallowed Mr. Latham from having the benefits Bnndiv
providns her While wmrkinq for APS.

25- On June 10, 2008 M$. Latham filed a charge of
disnriminati¢n with the New M@xicn Hnman Riqht$ Division ngainnt
APS.

26. On Dncember 5, 2000 the New Mnxicn Human Riqhtn

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Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 4 of 21

discriminated nqainat MS. Latham hanna on disability.

2"). 01'1 A}£)_~r‘il 7, 2009 the blew Me.‘e:»§.‘i.c:<> Hl..lman R.'i.qh'|;£»'~ Cc:mminnic)n
insund ita Ordnr of Dinminnal so Ms. Latnam may file chin mntcnr
in di$nrict court.

20. On Mny 14, 2009 APS allegnd, in n letter to Mn. Lntnnm,
nnat nba left $tndentn unattnnded at Volcnno Vista nigh nchnol nn
nprii 14, 2009 and left ncr nnbntitnte Knachinq nnniqnmnnu nnrly.

29. On npril 14, 2009 Ms. Lnthnm substituted for hen Ann
lnnnn, business education.

30. On Hpril 10, 2009 MS. Lathnm taught n block ncnndnln,
with APS nnsiqninq her tn the nnnnk bar (incinning lunch} for two
of the blocks{

31. On April l4, 2009 Mn. Lathnm checked in with another
teacher who inntruntnd Ms. Lntham wnnre tn bn and when to bn
Lnere.

32. On hbril lé, 2009 MB. Latnam covered her nsniqnnn jon
rail day and ¢:li.d not lnnve any S'|:,nd.r..>.nt'.s; unattended, nor c§:`r.ci nhe
lnave her as$ignment early.

33. APA made similar bnaelenn nncnsation$ ngainnt Mn.
nnthnm rnqardinq her'aubntitntn assignment at west Mesn Hiqh
Bcneol eleven days before the Mny 14, 2009 letter.

04. AFan May 14, 2009 lettnr bn MS. Latham was nn act nf
retaliation fnr filing this lawSuit.,

m CQUNT I:
nincnzcumi\_'rmu m annumon annum THE umw RJ:GHTS ncr

35. Thn_precndinq allegation$ are incorporated ny

weEnnenne.

 

Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 5 of 21

30. Mo. Latnam further avers that nofondant'o mann of
discrimination and rotaliation, no nlloqod above, have cannon nor
in nnEfer loot wagon and fringe bonnfito and loan of omploymont,
nnd may continue to cause her lost woods and fringe benefits for
nn nnopooifiod time period in the intnre, and novo condon nor
omotionol dist¥e$n.

37. Mn. Latham further avern that said onto ot

u.»-

discrimination and retaliation oro nnunolly rolatnd to tno loooo:
dwoorihod ahnuo.

WHEREFORE, Plaintiff sanko tnn following roliof:

o. nn order making M$. Lntnnm whole by awarding nor front
nny in nn amount deemed appropriate by the Court;

o. on order awarding MS. Latnnm back pay (inoludinn
rannnon and fringe benofitn} from the data Defondant prohibited
nnndin from accompanying Mn. Lathnm at worn through tnn dnrn of
trinl;

o. an order awarding Mn. Lathnm prejudgment and
pontjndqmont interoot in an amount nnd at n rntn to bd donorminod
HP the timm of trial;

d. nn order awarding Mo. Lnthnm fair compensation for
nmotional distress;

o. an order awarding Ms. Lntnnm all attornoyn' foon,
export witnoss fees and costs of this enrion; and

f. an order awarding Ms. Lnthnm nunn otnor and fnrtno§

relief as nhio Court deems fit.

Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 6 of 21

_ COUNT II:
UIB¢R¢MINATION AND RETALIAMION
HNDER THE ADA AMENBMENTS ACT OF 2008

38. Tne precedinq.alleqetiune are incorporated ny
rmfmrence.

39. MS. Lathem further avers that Defendant'e ante of
discrimination and retaliatien, an alleged above, have caused her
te enffer lest wages end fringe benefits end less or empinyment,
end may continue to cause her lost weqen end fringe benefits for
an unspecified time period in the fmtmre, end have canned her
emotional distreee.

40. Ms. Letham further avers that said acts of
diemriminetinn and retaliation are causally related tn the lanier
described abnve.

wHEREFORE, Plaintiff neeks the following relief:

a. an order making Ms. Letnam whole ny awarding net frOnL
pay in an amount deemed appropriate by the Comrt;

b. an order awarding Me. Lethem beck pay (inelnding
nnnnnes and fringe benefit$} from the date Defendent prohibited
Bendit from accompanying Ms. Letnam at work through the date er
trial;

e. an erder awarding MS. Letham prejudgment and
pretjudqment interest in en amount and et a rate to ne determined
et the time of triali

d. en order awarding Mn. Letnam fair compensation for
emotional dietress;

e. en order awarding Mm. I_.zit,_hem ali e.'\:;t~.c:)r.*neym' !ieee-Ja,

 

Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 7 of 21

expert witheaa fees and co$t$ of chih action; ADd
f. an mrdar awarding Ms. batham Such other and further
w@ii@f ma thia acurt_deems fit.

_ CGUNT III:
DIBCRIMINATIQN AND RETALIATTDN UNDER THE REHAEILITATIDN`ACT

41. Th@ preceding 511Qqation$ are incorporated by
reference.

42. Ma. Latham further avers that DQfendant'$ act3 of
discrimination and remaiiation, as alieq@d above, hav¢ cau$&d her
in suffer lost wages and fringe han@fit$ and lo$s of employmeht,
and may continue to cause her lost wages and fringe nem@fiu$ for
an unspecifi@d time period in the future, and have caused her
§mmtional distress.

43. M$. Latham further aver$ chan said act3 of
discrimination and rataliation are caugaliy related to the 1055@§
mhgcvihed mbnv@.

WHEREFORE, Plaintiff seek$ the follmwinq r&lief:

a. an order making Ms. Latham whole by awarding hiv £Font
pay in an amount deemed appropriate by tha Court;

D. an order awarding Ms. Lmtham back pay (includinq
hcnu$e@ and Fringe benefited Frnm tha date Defendant prohibited
Handit from accompanying MS, Lacham at work thrwugh the data mt
trial;

c. an order awarding Ms. benham prejudgm¢ht and
puatjudgment interest in an amounL and at a rate th be det$rminhd
at tha time of trial;

d. ah arder awarding M$. Latham fair compensation for

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Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 8 of 21

nmotinnal distres$;

Q. an order awarding Mn. Latham.ali attorneyn' tenn,
nynert witnesn fees and costs of thin nction; and

f. an order awarding Ms. Latham such Other and Fmtther
rnli@f an thin Cnurt deems fit.

CGUNT IV:
VIGLATIQN GF § 1933

qd. The preceding allegations arn innnrpnrated by
Fn£nrnnne.

45. Ms. Latham further avern that the abnvn»dnnntihnd a¢ts
ind nmisninn$ by Defandnnt deprivnd Ms. Latham, under color of
state law, the rights§ immunities and priviingen sannrad to Ms.
tathnm under the Conmtitutinn and lawn of the United Statnn of
Am@ticn, in violation of 42 U,B.C. § 1963.

46. Includad among thone rights of which Ma. nathan man
deprived in the right to be free of disability and handicap
discrimination and rataliation,

4?. Ms. Latham was harmed and injured by gain deprivation
at hnr civil riqhts,'for which she in nntitled to junt and fair
comp@nsation in an amount to nn determined at trial.

43, nefnndant took nn stepn tn ntnvnnt on correct the
unlawful bnhavior, thereby acting nn cnlnably as to constitute
nnthnrizatinn and acquiescencn.

WHEREFORE MH. Latham askn Fot compensatory damaqn$ tnqnthnr
with an award of raa$onable attorneys inns and cost$ and an Order
nwnrdinq Mn. Latham such other and further relief as this Cnurt

.:.|¢zc'»;¢.m 55 fit .

Case 1:09-cv-00643-|\/|V-ACT Document 1-2 Filed 07/01/09 Page 9 of 21

Respnctfuliy submittnd,

    

    

. Fabe.

Attornny fur Plaintiff
4620€ J@ff@rnon bane NE
Alhuqn@rque, NM 8?109
(505] 830~0€05

Danie]

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Case 1:09-cv-00643-M\{-ACT Document 1-2 Filed 07/01/09 Page 10 of 21

DANIEL M. moran
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46201'.3 Jeft`ersnn L.um:. Nli

Allsuquerque., NM 37109

Tclenhum:: {505) 830-04{)5 www.dm)iell"alwr.¢om Fax: (505) 830664|

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CO: ‘t~lnne.
Subjacl'. Lnt:'ham/APS l'C.“V 2009043'.?3) »» amended complaint
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NOTES:

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Case 1 09 cv 00643-l\/|V-ACT Document 1-2 Filed 07/01/09 Page 11 of 21

STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL DISTRICT COURT

TERRY LATHAM,
Plaintiff,

V .

BOARD OF EDUCATION OF THE
ALBUQUERQUE PUBLIC SCHOOLS

Defendant.

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O. _CBLZQUMZ) 73

JURY DEMAND

Plaintiff hereby demands a six-person jury

Respectfully Submitted,

M%i

Daniel M/ Faber

Attorney for Plaintiff
4620€ Jefferson Lane NE

Albuquerque,

(505)

NM 87109
830~0405

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swann VHGN

Case 1109-Cv-QQY43:lllln&iL33nnnl l-&,Rnnnz/Olllnsl>@ne 12 Of 21

ALBUQUERQUE, NM b ;03

PO BOX 488,

DATE:O4-15-2009
TIME:15:27:27
RECEIPT #:V 000218778

MEMO:

6~JD BY PL

RECEIVED oF=DANIEL M FABER ATTORNEY cHEcKS=
BY cLERK;KENDRA N. GOERS B 7123 $272.00
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D -0202 -cv -0200904373 184 PMT= cIvIL FILING w/ ARBITRAT $122.00

LATHAM T VS BOARD OF EDUCATION
PARTY: LATHAM TERRY

D -0202 -CV ~0200904373 156
LATHAM T VS BOARD OF EDUCATION
PARTY: LATHAM TERRY

* CHECK/CHEQUE IS CONDITIONAL PAYMENT

PMT: JURY 6 PERSON -

* PENDING RECEIPT OF FUNDS FROM BANK. *

‘k

BBZ BEATRICE BRICKHOUSE

DISTRICT $150.00

BBZ BEATRICE BRICKHOUSE

TOTAL RECEIPT... $272.00

Case 1:09-cv-00643-l\/|V-ACT Document 1-2 Filed 07/01/09 Page 13 of 21

Fll.,§n
coUNTY or BERNALILLO _ .,--
SECOND JUDICIAL DISTRICT coURT mg AF’R 55 PH 3-'3@ §
o
Plaintiff, §§
v. No. §§

 

BOARD OF EDUCATION OF THE
ALBUQUERQUE PUBLIC SCHOOLS,

Defendant.
CERTIFICATION OF RELIEF SOUGHT BEING OVER $25,000.00
Plaintiff, through his attorney Daniel M. Faber, pursuant to
LR2-603(II)(B) NMRA, hereby Certlfies that the money damages
sought in the above-captioned ease are more than $25,000.00,

exclusive of punitive damages, interest, costs, and attorney

f€€S .

Respectfully Submitted,

Daniel M. Faber
Attorney for Plaintiff
4620€ Jefferson Lane NE
Albuquerque, NM 87109
(505) 830-0405

CaSe 1:09-cv-00643-I\/|V-ACT Document 1-2 Filed 07/01/09 Page 14 of 21

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STATE OF Nsw MEXICO S§:"GHMUI~"(""“LMTRIC'T;:
cOUNTY oF BERNALILLO _
sscoNn JUDICIAL DIsTRICT coURT 2939 N;’R 55 PH 3=29

TERRY LATHAM,

Z;WHM§§§WIQMMQ

Plaintiff,

ssaos vssss>a

V.

sMMFS

suMMoN(S) lS-SUED

BOARD OF EDUCATION OF THE
ALBUQUERQUE PUBLIC SCHOOLS,

Defendant.

NOTICE OF APPEAL '
FROM THE HUMAN RIGHTS COMMISSION
AND COMPLAINT FOR HUMAN RIGHTS VIOLATIONS

l. In this complaint, Plaintiff Terry Latham illuminates
the cruel and discriminatory treatment she has received from her

employer, Albuquerque Public Schools (“APS”). Ms. Latham suffers

from chronic asthma. To warn her of oncoming asthma attacks, Ms.

Latham is accompanied by a service dog named Bandit, and from

January 2008 to May 2008, Bandit accompanied Mr. Latham on her

APS substitute teaching assignments. Ms. Latham has worked for

APS as a substitute teacher for about fifteen years, but APS now

prohibits her from having Bandit in the workplace. By barring

Bandit, APS prevents Ms. Latham from working as much for APS and
prevents her from having the benefits that Bandit provides. Ms.
Latham now seeks the relief that the law affords.

2. Ms. Latham is a resident of Bernalillo County, New

Mexico.

3. Defendant Board of Education of APS is the governing

body of APS, a public school system in New Mexico.

4. Defendant is a recipient of federal financial assistance

within the meaning of the Rehabilitation Act.

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5. The incidents that are the subject of this action took
place in Bernalillo County, New Mexico.

6. This Court has personal jurisdiction over the parties.

7. This Court is the proper venue for this action.

8. Ms. Latham suffers from chronic asthma.

9. Ms. Latham’s service dog, Bandit, warns her of oncoming
asthma attacks so she can have time to take medication and
precautionary actions.

10. Ms. Latham is a physically handicapped person as
defined by the New Mexico Human Rights Act (“HRA”), NMSA 19?8, §
28~1-2(M) (2007).

11. Ms. Latham is disabled as defined by ADA Amendments Act
of 2008, Pub. L. No. 110~325.

12. Ms. Latham is a handicapped individual within the
meaning of the Rehabilitation Act, 29 U.S.C. § 706(8).

13. This action arises under the New Mexico Human Rights
Act, NMSA 1978, § ZS-l~T(F) (2004), the ADA Amendments Act of
2008, Pub. L. No. 110-325, the Rehabilitation Act, 29 U.S.C. §§
701 et seg., 42 U.S.C. § 1983, and the laws, statutes,
regulations, policies, practices, and customs of the State of New
Mexico and the United States and their agencies and political
subdivisions.

14. At all times mentioned herein, Defendant acted under
color of state law.

15. Ms. Latham has worked for APS as a substitute teacher

for approximately fifteen years.

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l6. Bandit is registered as a service dog with the Service
Animal Registry of America and the Goldstar Service Dog
Organization.

17. From January 2008 to May 2008, Bandit accompanied Mr.
Latham on her APS substitute teaching assignments.

18. Bandit alerts Ms. Latham when her breathing changes,
first by sitting on her feet, then by whining, and then by
barking loudly.

19. On April 8, 2008 APS issued a plan to accommodate Ms.
Latham by allowing Bandit to accompany her to work.

20. Shortly after issuing the plan referred to in l 19, APS
rescinded the plan.

21. On March 6, 2008, April 3, 2008, and December 8, 2008,
APS directed Ms. Latham not to bring Bandit to work.

22. On December 8, 2008 APS suspended Ms. Latham for one
week for bringing Bandit to work.

23. By prohibiting Bandit from accompanying Ms. Latham to
work, APS barred Ms. Latham from working as much for APS.

24. By prohibiting Bandit from accompanying Ms. Latham to
worky APS disallowed Mr. Latham from having the benefits Bandit
provides her while working for APS.

25. On June 10, 2008 Ms. Latham filed a charge of
discrimination with the New Mexico Human Rights Division against
APS.

26. On December 5, 2008 the New Mexico Human Rights

Division issued a Determination of Probable Cause that APS

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discriminated against Ms. Latham based on disability.

27. On April 7, 2009 the New Mexico Human Rights Commission
issued its Order of Dismissal so Ms. Latham may file this matter
in district court.

COUNT I:
DISCRIMINATION UNDER THE HUMAN RIGHTS ACT

28. The preceding allegations are incorporated by
reference.

29. Ms. Latham further avers that Defendant’s acts Of
discrimination, as alleged above, have caused her to suffer lost
wages and fringe benefits and loss of employment, and may
continue to cause her lost wages and fringe benefits for an
unspecified time period in the future, and have caused her
emotional distress.

30. Ms. Latham further avers that said acts of
discrimination are causally related to the losses described
above.

WHEREFORE, Plaintiff seeks the following relief:

a. an order making Ms. Latham whole by awarding her front
pay in an amount deemed appropriate by the Court;

b. an order awarding Ms. Latham back pay (including
bonuses and fringe benefits) from the date Defendant prohibited
Bandit from accompanying Ms. Latham at work through the date of
trial;

c. an order awarding Ms. Latham prejudgment and
postjudgment interest in an amount and at a rate to be determined

at the time of trial;

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d. an order awarding Ms. Latham fair compensation for
emotional distress;

e. an order awarding Ms. Latham all attorneys’ fees,
expert witness fees and costs of this action; and

f. an order awarding Ms. Latham such other and further
relief as this Court deems fit.

COUNT II:
DISCRIMINATION UNDER THE ADA AMENDMENTS ACT OF 2008

31. The preceding allegations are incorporated by
reference.

32. Ms. Latham further avers that Defendant’s acts of
discrimination, as alleged above, have caused her to suffer lost
wages and fringe benefits and loss of employment, and may
continue to cause her lost wages and fringe benefits for an
unspecified time period in the future, and have caused her
emotional distress.

33. Ms. Latham further avers that said acts of
discrimination are causally related to the losses described
above.

WHEREFORE, Plaintiff seeks the following relief:

a. an order making Ms. Latham whole by awarding her front
pay in an amount deemed appropriate by the Court;

b. an order awarding Ms. Latham back pay (including
bonuses and fringe benefits) from the date Defendant prohibited
Bandit from accompanying Ms. Latham at work through the date of
trial;

c. an order awarding Ms. Latham prejudgment and

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postjudgment interest in an amount and at a rate to be determined
at the time of trial;

d. an order awarding Ms. Latham fair compensation for
emotional distress;

e. an order awarding Ms. Latham all attorneys’ fees,
expert witness fees and costs of this action; and

f. an order awarding Ms. Latham such other and further
relief as this Court deems fit.

COUNT III:
DISCRIMINATION UNDER THE REHABILITATION ACT

34. The preceding allegations are incorporated by
reference.

35. Ms. Latham further avers that Defendant’s acts of
discrimination, as alleged above, have caused her to suffer lost
wages and fringe benefits and loss of employment, and may
continue to cause her lost wages and fringe benefits for an
unspecified time period in the future, and have caused her
emotional distress.

36. Ms. Latham further avers that said acts of
discrimination are causally related to the losses described
above.

WHEREFORE, Plaintiff seeks the following relief:

a. an order making Ms. Latham whole by awarding her front
pay in an amount deemed appropriate by the Court;

b. an order awarding Ms. Latham back pay (including
bonuses and fringe benefits) from the date Defendant prohibited
Bandit from accompanying Ms. Latham at work through the date of

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trial;

c. an order awarding Ms. Latham prejudgment and
postjudgment interest in an amount and at a rate to be determined
at the time of trial;

d. an order awarding Ms. Latham fair compensation for
emotional distress;

e. an order awarding Ms. Latham all attorneys’ fees,
expert witness fees and costs of this action; and

f. an order awarding Ms. Latham such other and further

relief as this Court deems fit.

COUNT IV:
VIOLATION OF § 1983
37. The preceding allegations are incorporated by
reference.

38. Ms. Latham further avers that the above»described acts
and omissions by Defendant deprived Ms. Latham, under color of
state law, the rights, immunities and privileges secured to Ms.
Latham under the Constitution and laws of the United States of
America, in violation of 42 U.S.C. § 1983.

39. Included among those rights of which Ms. Latham was
deprived is the right to be free of disability and handicap
discrimination.

40. Ms. Latham was harmed and injured by said deprivation
of her civil rights, for which she is entitled to just and fair
compensation in an amount to be determined at trial.

41. Defendant took no steps to prevent or correct the
unlawful behavior, thereby acting so culpably as to constitute

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authorization and acquiescence.

WHEREFORE Ms. Latham asks for compensatory damages together
with an award of reasonable attorneys fees and costs and an order

awarding Ms. Latham such other and further relief as this Court

deems fit.

Respectfully submitted,

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